_ Case 4:20-cr-00276-GKF Document 108-2 Filed in USDC ND/OK on 04/26/21 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

VS.

Plaintiff,

SHANNON JAMES KEPLER

Defendant.

Case Number: 20-CR-00276-GKF

WITNESS LIST FOR TRIAL

SUBMITTED BY ATTORNEY: Ross Lenhardt, Sean Taylor

PARTY REPRESENTED: Plaintiff

No Name (Do NOT Include Addresses) Date/Time of Testimony (To Be Completed By Clerk)
1 Michael Eaton

2 Joe Ryan Perkins 4 /2ol21? 10-44 = lO:44on,

3 Jocelyn Finley 1lO*50- |\' FAam

4 Mark Kennedy 1k — Jat +, |: 34 = A'A3
5 Linda Hamlett Aiade~ FT

6 James Steward B37 ~— Ay]

yg Ashley Harrington ae 48 - A517

8 _David Pyle f OOD = Gi]

9 Josh Goldstein 4 lzi}zr + 30 }:29

10 Amber McCarty tay 20|21 < 4'29— U4 !

11 Jenetr Gardner t Wx - U4 U5

12. _Ashley Kite y 47— L57

13. Shawn Kite Y\2ilz2 40 - 5.5

14 Mark Ohnesorge "56 - 2:06

13 Kelvin Williams

16 William Daniel Lynchard 4212) : ROT- Se?

17 Michael Hamilton 44/Z0| al". Zid] — 428

Witness List for Trial/Hearing CV-I5A (6/2014)
Case 4:20-cr-00276-GKF Document 108-2 Filed in USDC ND/OK on 04/26/21 Page 2 of 2

Ni |zi Frae —4sg

18 Lisa Kepler

19 _Josh Mills Ylalays Wil2 jada

20. _Terah Shorter J. AlHU- dBi

21 Iris gaa? _ Dalley - Graff [22] 2134.3 — 37

39 Michael Robertson 4 2121 . ABR —AdT

23 Jason White

24 David Walker

25 Tammy Bryan Hi2ij2ys AOD — 21

26 _ Alice Bonifield rp RAA—A59

27 Ronald Jones 2 6 1i2b— AAl

28 Gina Kepler 4 /z2)2)! 13k - 25]

29 _Richard O’Carroll _. Dipuleh'm (ead on 4 [22)2) + 11:53
30 Robert Yerton 4/2242]: |2e ju — 122721

31 Margaret Loveall uf2zi21% 1:51 - )

32. Mary Goolsby Y\21]2\* G30 = 10:5)

33 Tiffany Dyer 4 /22)z1; 2/64 = 21 )4

34 Joy Bucklin Ly }22\Zle 223 24. pAI~/5]
35 _ Catharine Worthen \ 2:15 ZG

36 Tara Wade Li] 22) 21 IQ — Ato)

Submit to Courtroom Deputy (Do NOT File)

Witness List for Trial/Hearing CV-15A (6/2014)
